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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


 IN RE: C.R. BARD, INC., PELVIC
 REPAIR SYSTEM PRODUCTS                                   Master File No. 2:10-MD-02187
 LIABILITY LITIGATION                                             MDL No. 2187


 THIS DOCUMENT RELATES ONLY TO:                               JOSEPH R. GOODWIN
 MELINDA RIDDLE HONAKER v. C.R.                               U.S. DISTRICT JUDGE
 BARD, INC., ET AL.,

 CASE NO. 2:14-cv-02091


                 STIPULATION OF DISMISSAL WITHOUT PREJUDICE

        It is hereby stipulated and agreed, by and between the parties, that this action shall be

dismissed without prejudice as to Defendants C. R. Bard, Inc., Sofradim Production SAS, and

Tissue Science Laboratories Limited pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), each party to bear

its own costs and fees.

Date: February 18, 2019                              Respectfully submitted,

/s/ Richard B. North, Jr.                            /s/ Scott A. Love
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                                CERTIFICATE OF SERVICE

        I hereby certify that on February 18, 2019, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the CM/ECF participants registered to receive service in this MDL.

                                             By:    /s/ Scott A. Love
                                                    Counsel for Plaintiff(s)




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